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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                    )
                                             )                 CASE NO. 4:12CR3041
                     Plaintiff,              )
                                             )                         ORDER
v.                                           )
                                             )
CLEOPHUS A. COLLIER,                         )
                                             )
                     Defendant.              )

       THIS MATTER comes before the Court on Defendant Cleophus Collier’s

Unopposed Motion to Continue Deadline for Filing Pretrial Motions (filing no. 42)

from May 21, 2012, to June 4, 2012. The Court, being fully advised in the premises, and

noting that the Government has no objection to said continuance, finds that said motion

should be granted.

       IT IS THEREFORE ORDERED that Defendant Collier’s deadline for filing pretrial

motions shall be continued from May 21, 2012, to June 4, 2012. This Court further finds

that, based upon the showing set forth in Defendant Collier’s motion, the ends of justice

will be served by continuing Collier’s deadline for filing pretrial motions. Further, the Court

finds that taking such action outweighs the best interests of the public and Defendant

Collier in a speedy trial. Accordingly, the time from May 21, 2012, until June 4, 2012, shall

be excludable time, pursuant to 18 U.S.C. §3161(h)(7)(A).

       May 21, 2012.                               BY THE COURT:

                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
